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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    GINNIE MCKNIGHT, JACQUELINE                  )
    GARRISON, and ADRIANA DE LEÓN,               )
    individually and on behalf of similarly      )
    situated individuals,                        )
                                                 )          Case No. 1:23-cv-16118
           Plaintiffs,                           )
                                                 )          Hon. Sharon J. Coleman
                          v.                     )
                                                 )
    UNITED AIRLINES, INC., a Delaware            )
    corporation, and UNITED AIRLINES             )
    HOLDINGS, INC., a Delaware                   )
    corporation,                                 )
                                                 )
           Defendants.                           )

                    FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs, Ginnie McKnight, Jacqueline Garrison, and Adriana De León (“Plaintiffs”),

individually and on behalf of other similarly situated individuals, bring this First Amended Class

Action Complaint against Defendants United Airlines, Inc. and United Airlines Holdings, Inc.

(collectively “United” or “Defendants”) for their violations of the Illinois Genetic Information

Privacy Act, 410 ILCS 513/1, et seq. (“GIPA”), and to obtain redress for persons injured by their

conduct. Plaintiffs allege the following based on personal knowledge as to Plaintiffs’ own

experiences, and as to all other matters, upon information and belief, including an investigation

conducted by Plaintiffs’ attorneys.

                                      INTRODUCTION

      1.      This case concerns the misuse of individuals’ genetic information in Illinois by

operators of an international commercial airline. As a condition of employment, Defendants

require potential employees to undergo a rigorous application process, including phone


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conversations with United Airlines’ recruiters and physical exams, during which genetic

information in the form of their family medical history is requested.

       2.      Having recognized the uniquely private and sensitive nature of genetic information

– and the potential for harmful discrimination that such information may encourage among

employers – the Illinois General Assembly enacted GIPA in part to regulate employers’ use of

such genetic information. In addition to its baseline protections of individuals’ genetic information,

GIPA specifically provides that an employer, employment agency, labor organization, or licensing

agency shall not directly or indirectly do any of the following:

               (1) solicit, request, require or purchase genetic testing or genetic
                   information of a person or family member of the person, or administer
                   a genetic test to a person or a family member of the person as a condition
                   of employment, preemployment application, labor organization
                   membership, or licensure;

               (2) Affect the terms, conditions, or privileges of employment,
                   preemployment application, labor organization membership, or
                   licensure of any person because of genetic testing or genetic information
                   with respect to the employee or family member, or information about a
                   request for or the receipt of genetic testing by such employee or family
                   member of such employee;

               (3) Limit, segregate, or classify employees in any way that would deprive
                   or tend to deprive any employee of employment opportunities or
                   otherwise adversely affect the status of the employee as an employee
                   because of genetic testing or genetic information with respect to the
                   employee or a family member, or information about a request for, or the
                   receipt of genetic testing or genetic information by such employee or
                   family member of such employee; and

               (4) Retaliate through discharge or in any other manner against any person
                   alleging a violation of this Act or participating in any manner in a
                   proceeding under this Act.

                   410 ILCS 513/25(c)

       3.      GIPA defines “genetic information” as information pertaining to: (i) an individual’s

genetic tests; (ii) the genetic tests of family members of the individual; (iii) the manifestation of a

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disease or disorder in family members of such individual; or (iv) any request for, or receipt of,

genetic services, or participation in clinical research which includes genetic services, by the

individual or any family member of the individual.1

          4.      Genetic information, including familial health history, is a uniquely private and

sensitive form of personal information. The genetic information contained therein reveals a trove

of intimate information about that person’s health, family, and innate characteristics.

          5.      In requiring prospective employees, such as Plaintiffs, to disclose their family

medical histories, Defendants have violated Plaintiffs’ and the other putative Class members’

statutory right to genetic privacy.

          6.      In enacting GIPA, the Illinois Legislature recognized that “[d]espite existing laws,

regulations, and professional standards which require or promote voluntary and confidential use

of genetic testing information, many members of the public are deterred from seeking genetic

testing because of fear that test results will be disclosed without consent in a manner not permitted

by law or will be used in a discriminatory manner.” See 410 ILCS 513/5(2).

          7.      GIPA bestows a right to privacy in one’s genetic information and a right to prevent

the solicitation of, collection, or disclosure of such information without one’s consent.

          8.      Despite GIPA’s prohibition against soliciting family medical information

concerning familial diseases and disorders, Defendants continue to request that their employees

and prospective employees provide protected familial medical history in violation of GIPA.

          9.      Plaintiffs bring this action for statutory damages and other remedies as a result of

Defendants’ conduct in violating Plaintiffs’ Illinois genetic privacy rights.




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    410 ILCS 513/10, by reference to 45 C.F.R. § 160.103.
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          10.   On Plaintiffs’ own behalf, and on behalf of the proposed Class defined below,

Plaintiffs seek an injunction requiring Defendants to comply with GIPA, as well as an award of

statutory damages under GIPA, to the Class members, together with costs and reasonable attorneys’

fees.

                                             PARTIES

          11.   Defendant United Airlines, Inc. is a Delaware corporation that conducts substantial

business throughout Illinois and is registered with the Illinois Secretary of State to transact

business in Illinois. Defendant United Airlines, Inc. is headquartered in Chicago, Illinois.

          12.   Defendant United Airlines Holdings, Inc. is a Delaware corporation that conducts

substantial business throughout Illinois and is registered with the Illinois Secretary of State to

transact business in Illinois. Defendant United Airlines Holdings, Inc. is headquartered in Chicago,

Illinois.

          13.   Plaintiff Ginnie McKnight is a natural person and resident of Maryland.

          14.   Plaintiff Jacqueline Garrison is a natural person and resident of Illinois.

          15.   Plaintiff Adriana De León is a natural person and resident of Illinois.

                                 JURISDICTION AND VENUE

          16.   This Court may assert subject matter jurisdiction over this matter pursuant to the

Class Action Fairness Act, 28 U.S.C. § 1332(d) et seq., because this case is a class action in which

the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs;

there are greater than 100 putative class members; at least one putative class member is a citizen

of a state other than Defendants; and none of the exceptions under subsection 1332(d) apply.

          17.   This Court may assert personal jurisdiction over Defendants, because Defendants

are knowingly doing business within this State, are headquartered in this State, and knowingly



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transact business within this State such that they have sufficient minimum contacts with Illinois

and/or have purposely availed themselves of Illinois markets to make it reasonable for this Court

to exercise jurisdiction over Defendants, and because Plaintiffs’ claims arise out of Defendants’

unlawful in-state actions when Defendants directly or indirectly solicited, requested, required, or

purchased genetic information of their job applicants as a condition of applicants’ employment or

preemployment application in Illinois, including Plaintiffs’.

                            COMMON FACTUAL ALLEGATIONS

       18.       The genomic revolution of recent decades has brought with it great advancements

in biological sciences and medicine. Modern genomic technologies allow individuals to gather

genealogical information about themselves and their relatives, to discover their genetic

predisposition for diseases before any symptoms manifest, and in some cases to prevent and treat

such diseases.

       19.       These and other benefits of genomic science have coincided with a rapid decline in

the cost of genetic testing. Since the turn of the 21st century, the cost of collecting and analyzing

a complete individual human genome has fallen from more than $100,000,000 in 2001 to less than

$1,000 in 2022.2 Despite the benefits to science and health care that could be gained from increased

access to genetic testing, the Centers for Disease Control expressed counterbalancing concerns

related to genetic privacy as early as 1996.3

       20.       As recognized by the CDC and the Illinois Legislature, progress in the field of

genomics does not come without risk, and as the benefits and accessibility of genetic testing have

grown so too has the potential for abuse and discrimination. To address these and other concerns



2
 https://www.genome.gov/about-genomics/fact-sheets/DNA-Sequencing-Costs-Data
3
 Board on Biology National Research Council. Privacy Issues in Biomedical and Clinical Research:
Proceedings of Forum on November 1, 1997 (Washington D.C., National Academy Press, 1997) 1.
                                                 5
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related to misusing genetic information, Illinois and other states regulate the collection, use, and

disclosure of such information.

         21.   In 1998, the Illinois General Assembly enacted the Genetic Information Privacy

Act, 410 ILCS 513/1 et seq. out of recognition that people’s genetic information could be used for

discriminatory purposes, one of the most harmful of which would occur in the context of

employment.

         22.   Accordingly, GIPA prohibits an employer from directly or indirectly soliciting,

requesting, requiring or purchasing the genetic testing or genetic information of a person or family

member of a person as a condition of employment, preemployment application, labor organization

membership, or licensure. 410 ILCS 513/25(c)(1).

         23.   GIPA defines an employer, in relevant part, as “every [] person employing

employees within the state.”

         24.   Defendants are each an “employer” as defined by GIPA.

         25.   Defendants operate a major airline known as United Airlines. They form one of the

largest airline companies in the airline industry, operating a global fleet of aircraft. Defendants

employ thousands of individuals across the nation, including in Illinois, and upon information and

belief they recruit their employees nationwide from their headquarters in Chicago, Illinois.

         26.   As part of their hiring process, Defendants require their prospective employees to

undergo an application process and physical exams during which various medical questions are

asked.

         27.   Defendants’ medical questions include the solicitation of information regarding the

manifestation of diseases in family members of the prospective employee.




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       28.     In addition to the above statutorily prohibited conduct, Defendants did not inform

Plaintiffs or the Class of their right not to answer any questions regarding their genetic information.

       29.     Defendants thus violated GIPA by soliciting and obtaining Plaintiffs’ and the

Class’s genetic information as a precondition of employment or as part of their preemployment

application.

                       FACTS SPECIFIC TO PLAINTIFF MCKNIGHT

       30.     In or around May of 2022, Plaintiff Ginnie McKnight applied for a job with

Defendants as a Ramp Service Employee in Dulles, Virginia.

       31.     During the application process, Plaintiff McKnight communicated directly with

Defendants’ United Airlines Talent Acquisition Team located in Chicago, Illinois.

       32.     As part of the application and hiring process, and as a precondition of employment,

Defendants required Plaintiff McKnight to submit to at least three different physical examinations.

       33.     During the examinations, Defendants required Plaintiff McKnight to answer

questions concerning her family medical history, i.e. the manifestation of diseases or disorders in

her family members. Such questions included whether Plaintiff’ McKnight s family members had

a history of high blood pressure, cancer, diabetes, heart disease, and other medical conditions.

       34.     In response, Plaintiff McKnight disclosed her genetic information, including

diseases and disorders with which her family members have been diagnosed.

       35.     After successful completion of the required physical testing and examinations,

Plaintiff McKnight began getting phone calls and messages from United Airlines recruiters located

in Chicago, Illinois and was required to further disclose and verify her family medical history.

       36.     After Plaintiff McKnight refused to provide the requested detail regarding such

sensitive information due to privacy concerns, one of Defendants’ Talent Acquisition recruiters



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from Chicago, Illinois, Gehad Shanab, in an email dated June 24, 2022, rescinded Plaintiff

McKnight’s conditional job offer for being “non-responsive” to Defendants’ inquiries.

       37.     Thus, Plaintiff McKnight’s sensitive genetic information was solicited by

Defendants from Chicago, Illinois, as a condition of employment.

       38.     Plaintiff McKnight was not advised by Defendants or anyone else acting on behalf

of Defendants, either verbally or in writing, to not disclose the solicited genetic information. Nor

did Plaintiff provide her genetic information in furtherance of a workplace wellness program.

       39.     By requiring Plaintiff McKnight to answer questions about her family medical

history, Defendants directly or indirectly solicited, requested, purchased and/or required Plaintiff

to disclose her genetic information in violation of GIPA.

                      FACTS SPECIFIC TO PLAINTIFF GARRISON

       40.     In or around June of 2022, Plaintiff Jacqueline Garrison applied for a job with

Defendants as a Ramp Service Employee in Chicago, Illinois.

       41.     During the application process, Plaintiff Garrison communicated directly with

Defendants’ United Airlines Talent Acquisition Team located in Chicago, Illinois.

       42.     As part of the application and hiring process, and as a precondition of employment,

Defendants required Plaintiff Garrison to submit to a physical examination in Chicago, Illinois.

       43.     During the examination, Defendants required Plaintiff Garrison to answer questions

concerning her family medical history, i.e. the manifestation of diseases or disorders in her family

members. Such questions included whether Plaintiff Garrison’s family members had a history of

cancer, heart disease, and other medical conditions.




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       44.     In response, Plaintiff Garrison disclosed her genetic information, including diseases

and disorders with which her family members have been diagnosed. Plaintiff’s answers were

documented and collected in Illinois.

       45.     Defendants then used this genetic information, and denied Plaintiff Garrison

employment.

       46.     Thus, Plaintiff Garrison’s sensitive genetic information was solicited by

Defendants as a condition of her employment.

       47.     Plaintiff Garrison was not advised by Defendants or anyone else acting on behalf

of Defendants, either verbally or in writing, to not disclose the solicited genetic information. Nor

did Plaintiff provide her genetic information in furtherance of a workplace wellness program.

       48.     By requiring Plaintiff Garrison to answer questions about her family medical

history, Defendants directly or indirectly solicited, requested, purchased and/or required Plaintiff

to disclose her genetic information in violation of GIPA.

                        FACTS SPECIFIC TO PLAINTIFF DE LEÓN

       49.     In or around October of 2021, Plaintiff Adriana De León applied for a job with

Defendants and was hired for a position in Operations in Chicago, Illinois.

       50.     As part of the application and hiring process, as a precondition of employment, and

in connection with Defendants’ mandatory physical examination, Plaintiff De León was asked to

answer questions concerning her family medical history, i.e. the manifestation of diseases or

disorders in her family members.

       51.     In response, Plaintiff De León disclosed her genetic information, including diseases

and disorders with which her family members have been diagnosed. Plaintiff’s answers were

documented and collected in Illinois.



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       52.     Thus, Plaintiff De León’s sensitive genetic information was solicited by Defendants

and obtained by Defendants as a condition of her employment.

       53.     Plaintiff De León was not advised by Defendants or anyone else acting on behalf

of Defendants, either verbally or in writing, to not disclose the solicited genetic information. Nor

did Plaintiff De León provide her genetic information in furtherance of a workplace wellness

program.

       54.     By requiring Plaintiff De León to answer questions about her family medical

history, Defendants directly or indirectly solicited, requested, purchased and/or required Plaintiff

De León to disclose her genetic information in violation of GIPA.

                                 CLASS ACTION ALLEGATIONS

       55.      Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiffs bring this action on their

own behalf and on behalf of a class (the “Class”) and a subclass (the “Subclass”) defined as

follows:

               The Class: All individuals who applied for employment with
               Defendants and from whom an employee or an agent of Defendants
               located in Illinois have requested and/or obtained family medical
               history or other genetic information according to Defendants’
               records within the applicable limitations period.

               Subclass: All individuals who, while in Illinois, applied for
               employment with Defendants and from whom Defendants, or an
               agent acting on behalf of Defendants, have requested and/or
               obtained family medical history or other genetic information
               according to Defendants’ records within the applicable limitations
               period.

       56.     Excluded from the Class and Subclass are any members of the judiciary assigned to

preside overthis matter; any officer or director of Defendants; and any immediate family member

of such officers or directors.




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       57.       Upon information and belief, there are thousands of members of the Class and

Subclass, making the members of the Class and Subclass so numerous that joinder of all members

is impracticable. Although the exact number of members of the Class and Subclass is currently

unknown to Plaintiffs, the members can be easilyidentified through Defendants’ records.

       58.       Plaintiffs’ claims are typical of the claims of the members of the Class and Subclass

Plaintiffs seek to represent, because the factual and legal bases of Defendants’ liability to Plaintiffs

and the other members of the Class and Subclass are the same, and because Defendants’ conduct

has resulted in similar violations to Plaintiffs and to the Class and Subclass. As alleged herein,

Plaintiffs and the Class and Subclass have all been aggrieved by Defendants’ GIPA violations.

       59.       There are many questions of law and fact common to the claims of Plaintiffs and

the Class and Subclass, and those questions predominate over any questions that may affect

individual members. Common questions for the Class and Subclass include, but are not limited to,

the following:

                 a.   Whether Defendants’ conduct is subject to GIPA;

                 b.   Whether Defendants directly or indirectly solicited Plaintiffs’ and the other

                      Class and Subclass members’ genetic information as a condition of

                      employment or through their preemployment application in violation of 410

                      ILCS 513/25(c)(1);

                 c.   Whether Defendants’ violations of GIPA were negligent;

                 d.   Whether Defendants’ violations of GIPA were reckless or intentional; and

                 e.   Whether Plaintiffs and the Class and Subclass are entitled to damages and

                      injunctive relief.




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       60.      Absent a class action, most members of the Class and Subclass would find the cost

of litigating their claims to be prohibitively expensive and would thus have no effective remedy.

The class treatment of common questions of law and fact is superior to multiple individual actions

in that it conserves the resources of the courts and the litigants and promotes consistency of

adjudication.

       61.      Plaintiffs will adequately represent and protect the interests of the members of the

Class and Subclass. Plaintiffs have retained counsel with substantial experience in prosecuting

complex litigation and class actions. Plaintiffs and Plaintiffs’ counsel are committed to vigorously

prosecuting this action on behalf of the other members of the Class and Subclass and have the

financial resources to do so. Neither Plaintiffs nor Plaintiffs’ counsel have any interest adverse to

those of the other members of the Class and Subclass.

       62.      Defendants have acted and failed to act on grounds generally applicable to Plaintiffs

and the other members of the Class and Subclass, requiring the Court’s imposition of uniform

relief to ensure compatible standards of conduct toward the members of the Class and Subclass

and making injunctive or corresponding declaratory relief appropriate for the Class and Subclass

as a whole.

                                           COUNT I
      Violation of the Illinois Genetic Information Privacy Act, 410 ILCS 513/1, et seq.
                     (On behalf of Plaintiffs and the Class and Subclass)

       63.      Plaintiffs incorporates the foregoing allegations as if fully set forth herein.

       64.      Defendants are companies that employ individuals within the state of Illinois and

therefore meet the definition of an “employer” under GIPA. 410 ILCS 513/10.




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       65.     GIPA defines “genetic information” by reference to HIPAA as specified in 45

C.F.R. § 160.103 to include the manifestation of a disease or disorder in family members of an

individual.

       66.     Under GIPA, an employer shall not directly or indirectly solicit, request, require or

purchase genetic information of a person or a family member of the person as a condition of

employment or as part of any preemployment application. 410 ILCS 513/25(c)(1).

       67.     As a precondition of their employment with Defendants, Plaintiffs and the Class

and Subclass were required to undergo a rigorous application process, including telephonic

conversations and/or physical exams, during which Defendants required them to answer questions

regarding their family medical history, i.e. the manifestation of a disease or disorder in family

members. In other words, Defendants directly or indirectly solicited, requested, purchased and

required Plaintiffs and the members of the Class and Subclass to disclose their genetic information.

       68.     Defendants’ practice of requiring prospective employees to provide such genetic

information originated at Defendants’ headquarters in Illinois, and Defendants further collected

and aggregated such genetic information in Illinois.

       69.     Plaintiffs and the Class and Subclass also provided accompanying personal

identifying information, including their full names, home addresses, date of birth, Social Security

information and gender to Defendants as part of their employment applications.

       70.     The information obtained from Plaintiffs and the Class and Subclass by Defendants

is the type of information protected by GIPA. 410 ILCS 513/10.

       71.     Defendants failed to advise Plaintiffs and the other Class and Subclass members,

either verbally or in writing, of their statutorily protected right under GIPA to not provide their

family medical history or genetic information.



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         72.      Plaintiffs and the other Class and Subclass members have been aggrieved by

Defendants’ above violations of their statutorily protected rights to privacy in their genetic

information as set forth inGIPA.

         73.      GIPA provides for statutory damages of $15,000 for each reckless or intentional

violation of GIPA and, alternatively, damages of $2,500 for each negligent violation of GIPA. 410

ILCS 513/40(a)(3).

         74.      Defendants’ violations of GIPA, a statute that has been in effect since 1998, were

knowing and willful, or were at least in reckless disregard of the statutory requirements.

Alternatively, Defendants negligently failed to comply with GIPA.

         75.      Accordingly, Plaintiffs, individually and on behalf of the proposed Class, pray for

the relief set forth below.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs Ginnie McKnight, Jacqueline Garrison and Adriana De León,

individually and on behalf of the proposed Class, respectfully request that this Court enter an

Order:

               a. Certifying the Class and Subclass as defined above, appointing Plaintiffs as class

                  representatives, and appointing Plaintiffs’ counsel as class counsel;

               b. Declaring that Defendants’ actions, as set forth herein, violate GIPA;

               c. Awarding injunctive and equitable relief as necessary to protect the interests

                  of Plaintiffs and the Class and Subclass by requiring Defendants to comply with

                  GIPA;

               d. Awarding statutory damages of $15,000 for each reckless or intentional violation

                  of GIPA pursuant to 410 ILCS 513/40(a)(3);



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           e. Awarding statutory damages of $2,500 for each negligent violation of GIPA

               pursuant to 410 ILCS 513/40(a)(3);

           f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses

               pursuant to 410 ILCS 513/40(a)(3);

           g. Awarding pre- and post-judgment interest, as allowable by law; and

           h. Such further and other relief the Court deems reasonable and just.

                                         JURY DEMAND

       Plaintiffs request trial by jury of all claims that can be so tried.

 Dated: January 8, 2024                                Respectfully submitted,

                                                       GINNIE MCKNIGHT, JACQUELINE
                                                       GARRISON and ADRIANA DE LEÓN,
                                                       individually and on behalf of similarly
                                                       situated individuals,

                                               By:     /s/ Andrew T. Heldut
                                                       One of Plaintiffs’ Attorneys
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